  IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF
                    TENNESSEE NASHVILLE DIVISION
JACQUELINE S. ROBINSON,          )
                                 )
      Plaintiff,                 )
                                 )
      v.                         )  Civil Action No. 3:12-cv-01182
BANK OF AMERICA N.A. dba BANK OF )  JURY DEMAND
AMERICA HOME LOANS, THE          )
NEWPORT AGENCY, FIDELITY         )
NATIONAL PROPERTY AND            )  Judge CAMPBELL
CAUSALITY INSURANCE COMPANY )       Magistrate Judge GRIFFIN
                                 )
      Defendants.                )
                                 )

                   STIPULATION OF VOLUNTARY DISMISSAL

       Comes now Plaintiff and Defendant Newport, by and through their respective

counsel, and pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, and

gives notice of a settlement between the parties as to the claims and allegations in

Plaintiffs Complaint, and stipulate to voluntary dismissal with prejudice, each party to

bear its own costs and attorney fees.



                                                Respectfully submitted,



                                                s/ J.Trent Lehman
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                                                Attorney for Plaintiff



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                                          s/ Nicholas Bragorgos with express
                                          permission by JTL
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                                          Attorney for Defendant The Newport Agency
                               CERTIFICATE OF SERVICE

        I hereby certify that on August 22, 2014, a copy of the foregoing was served
electronically and/or via first-class U.S. mail, postage prepaid, upon all parties as indicated
below.

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                                           s/ J. Trent Lehman
                                           J. Trent Lehman




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